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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

United States of America,                     :
                                              :               Case No.: 1:20-cr-077
        Plaintiff,                            :
v.                                            :               Judge Timothy S. Black
                                              :
Matthew Borges,                               :
                                              :
        Defendant.                            :

        DEFENDANT MATTHEW BORGES’ MOTION FOR RELIEF FROM THE
        GOVERNMENT’S TIER 3 DESIGNATION AS TO CERTAIN DISCOVERY

        Defendant, Matthew Borges (“Borges”), by and through undersigned counsel, hereby moves

the Court for relief from the Government’s Tier 3 designation as to items of discovery relating to

“CHS-1” provided by the Government on or about September 2, 2020. This Motion is more fully

explained in the attached memorandum in support.

                                              Respectfully submitted,

                                              /s/ Karl H. Schneider
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                               MEMORANDUM IN SUPPORT

                                          Introduction

       Borges seeks relief from the Government’s Tier 3 designation of discovery materials

(recorded calls, text messages, video/audio recordings, and an employment contract) relating to

“CHS-1.” Any “compelling interest” the Government had in limiting the dissemination of those

materials evaporated when “CHS-1” revealed his identity to the news media and publicly

discussed his work as a confidential source for the FBI. CHS-1 disclosed to the news media that

he texted, called, and surreptitiously recorded conversations with Borges at the direction of the

FBI. Borges, through counsel, asked the Government to re-designate the CHS-1 discovery

materials as Tier 1. The Government declined Borges’ request. Borges is now before the Court

seeking relief from the Government’s Tier 3 designation as to those materials.1

                                            Discussion

       On August 14, 2020, the Court issued a Protective Order Regarding Discovery.

(Protective Order, R.47.) Among other things, the Order required the Government to designate

discovery items into certain categories—Tier 1, Tier 2, or Tier 3—and imposed certain

limitations on each Defense Team’s use or dissemination of discovery materials depending on

which category the Government chose. On February 4, 2021, the Court issued an Amended

Protective Order Regarding Discovery, adding an additional category “Tier 3 Attorneys’ Eyes

Only.” Am. Protective Order, R.77.




1
 “If the parties cannot agree on a designation of any of the Discovery Materials, the defendant,
through counsel of record, may seek relief from the government’s designation (or a re-
designation) as to a particular item of discovery by filing a motion with the Court.” Am.
Protective Order, R.77, PAGEID #1554.
                                                 2
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       The Government has produced discovery materials to the defendants on a rolling basis

since August 2020. All the materials provided by the Government have been designated and

labeled as Tier 1, Tier 2, Tier 3, or Tier 3 Attorneys’ Eyes Only.

       At issue here are materials relating to CHS-1 that the Government designated as Tier 3,

produced to Borges on or about September 2, 2020. Those materials include recorded calls, text

messages, and recorded meetings (audio and video) between Borges and CHS-1, as well as an

employment contract between CHS-1 and a third-party (collectively “CHS-1 discovery

materials”). Because these materials are designated Tier 3 they may only “be shared with

members of the Defense Team[]” and may not “[b]e further disseminated by any member of the

Defense Team” to anyone else including “witnesses or potential witnesses[.]” Am. Protective

Order, R.77, PAGEID #1554.

       The Amended Protective Order provides the following definition relevant to this

discussion:

       Tier 3 Discovery Materials are defined as sensitive materials or information that
       involve, refer, or relate to sensitive investigatory techniques or information the
       disclosure of which would reveal the sensitive investigative methods used by law
       enforcement in complex corruption investigations and/or identify or reveal
       information about other individuals, investigations, or witnesses.

Am. Protective Order, R. 77, at PAGEID #1552.

       Borges recognizes that, in general, the Government has a strong interest in protecting the

identity of cooperating individuals, as well as, certain investigatory techniques used by law

enforcement. However, Borges submits that any “compelling interest” the Government may

have had in protecting CHS-1’s identity vanished when CHS-1 sought publicity for his work

with the FBI and “outed” himself in the media. See, e.g., Jim Provance, Key source in probe of

Ohio House Speaker identified, Toledo Blade (July 23, 2020) available at



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https://www.toledoblade.com/local/politics/2020/07/23/key-source-in-fbi-probe-of-house-

speaker-identified/stories/20200723104; Jeremy Pelzer, Meet the man who helped the FBI

expose Ohio House Speaker Larry Householder’s alleged $60M bribery scheme, Cleveland Plain

Dealer (July 24, 2020) available at https://www.cleveland.com/open/2020/07/meet-the-man-

who-helped-the-fbi-expose-ohio-house-speaker-larry-householders-alleged-60m-bribery-

scheme.html; Andy Chow, Nuclear Bailout Whistleblower Speaks Out, WOSU News (Oct. 22,

2020) available at https://news.wosu.org/news/2020-10-22/nuclear-bailout-whistleblower-

speaks-out. 2 Since there is no need to protect the privacy of someone who so clearly does not

wish to remain anonymous, the only other reason to limit the dissemination of these materials

would be if the disclosure of the contents of those materials “would reveal the sensitive

investigative methods used by law enforcement[.]”

       Borges submits that the CHS-1 discovery materials would not disclose any “sensitive”

investigative methods or techniques. Assuming, arguendo, that secretly recording a telephone

call or a meeting is a “sensitive investigative method,” a doubtful premise since anyone with a

smart phone can accomplish the same thing, the bulk of the CHS-1 discovery materials share the

contents of communications and very little, if anything, about the methods used to gather them.

Moreover, both CHS-1 (see above articles) and the Government have already disclosed the

nature of the investigative techniques used to obtain these discovery materials and select portions

of the contents of those materials. See, e.g., Indictment, R.22, PAGEID #1255 (referencing CHS-

1 working at the direction of the FBI), PAGEID #1265 (referencing recorded meetings between



2
  Because these articles are public, and not the Government’s discovery materials, there is no
limitation under the Amended Protective Order as to their dissemination. Am. Protective Order,
R. 77, at PAGEID #1553 (defining “Disseminate” to include “disclosing the identity or probable
identity of a confidential witness … where identifying information was derived from discovery
materials.”) Counsel will, however, continue to use “CHS-1” out of an abundance of caution.
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Borges and CHS-1 and quoting therefrom), PAGEID #1276 (referencing recorded meetings

between Borges and CHS-1 and quoting therefrom), PAGEID #1283-84 (referencing text

messages between Borges and CHS-1 and quoting therefrom). It is worth noting that

“disseminate” means, in part, “to provide, show, or describe to another either a particular piece

of discovery or quotations, excerpts, or summaries derived therefrom.” Am. Protective Order,

R.77, at PAGEID #1553.

       In sum, the Government: (1) publicly acknowledged the existence of CHS-1 and his work

with the FBI; (2) publicly disclosed the investigatory methods used with CHS-1 (copying text

messages, secretly recording calls and meetings); and (3) selectively disseminated (in Court

filings and a press conference) portions of the CHS-1 discovery materials, despite the fact that

those recorded conversations and text messages often directly refute the allegations made against

Borges. The Government then designated all source materials for their selective public

disclosures as Tier 3 so that Borges’ Defense Team is severely limited in how those materials

can be used.3 Then, CHS-1, for reasons known only to him, sought publicity for his work with

the FBI through various news outlets and disclosed his own version of events.

       On October 6, 2021, counsel emailed counsel for the Government, Assistant United

States Attorneys (“AUSA”) Emily Glatfelter and Matthew Singer, requesting, among other

things, that the Government re-designate the CHS-1 discovery materials from Tier 3 to Tier 1.

The Government declined the requested re-designation of the CHS-1 discovery materials, thus

making the matter ripe for the Court’s review. See Am. Protective Order, R.77, PAGEID #1554.




3
 Counsel acknowledges that, regardless of the Tier designation, there are still limitations on the
dissemination of any discovery materials and a procedure for utilizing any discovery material in
Court filings. See Am. Protective Order, R.77, at PAGEID #1555. It is only the Tier 3
designation and the restrictions attendant thereto that counsel seeks relief from here.
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                                           Conclusion

       Based on the foregoing, Borges respectfully moves the Court for relief from the

Government’s Tier 3 designation of the CHS-1 discovery materials, including text messages,

recorded calls, recorded meetings, and a contract. Borges submits that these discovery materials

should be re-designated as Tier 1.

                                             Respectfully submitted,

                                             /s/ Karl H. Schneider
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                                             Counsel for Defendant


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Notice was electronically filed with the
Clerk of the United States District Court using the CM/ECF system on October 21, 2021, which
will send notification of such filing to all attorneys of record including Assistant United States
Attorneys Emily Glatfelter and Matthew Singer.


                                             /s/ Karl H. Schneider
                                             Karl H. Schneider (0012881), Lead Counsel




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